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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


MODERNATX, INC. and MODERNA US, INC.,
              Plaintiffs, Counterclaim-    Case No. 1:22-cv-11378-RGS
              Defendants,
      v.
PFIZER INC., BIONTECH SE, BIONTECH
MANUFACTURING GMBH, and BIONTECH
US INC.,

              Defendants, Counterclaim-
              Plaintiffs.




           DEFENDANTS’ OPENING CLAIM CONSTRUCTION BRIEF
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Exhibit                                       Document
  A       U.S. Patent No. 10,898,574
  B       U.S. Patent No. 10,702,600
  C       U.S. Patent No. 10,933,127
  D       Declaration of Dr. Daniel O. Griffin in Support of Defendants’ Constructions
  E       Curriculum Vitae for Daniel O. Griffin, M.D., Ph.D.
  F       List of Materials Considered for Daniel O. Griffin, M.D., Ph.D.
  G       Plaintiffs ModernaTX, Inc. and Moderna US, Inc.’s List of Claim Terms to be
          Construed, dated April 24, 2023
  H       Collins Dictionary of Science 514 (2005)
   I      Penguin Dictionary of Science 432 (3rd ed. 2009)
   J      Webster’s New World Medical Dictionary 271 (3rd ed. 2008)
  K       Excerpt from prosecution history for U.S. Appl. No. 16/880,829
          (September 10, 2020 Notice of Allowability)
  L       Excerpt from prosecution history for U.S. Appl. No. 16/880,829
          (December 18, 2020 Response to Examiner’s Note)
  M       Claude Fauquet, Taxonomy, Classification and Nomenclature of Viruses,
          ELSEVIER 9 (2008)
  N       Dong Yang & Julian L. Leibowitz, The structure and functions of coronavirus
          genomic 3’ and 5’ ends, 206 Virus Research 120 (2015)




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I.     INTRODUCTION

       In 2005, Dr. Katalin Karikó and her colleague Dr. Drew Weissman at the University of

Pennsylvania first published their groundbreaking research on modified mRNA nucleosides,1

which led to solving one of the long-standing challenges of using mRNA as a potential therapeutic.

They published a series of articles about this research and claimed their inventions in patents. The

work that Plaintiffs now tout in this lawsuit relied on these discoveries by Dr. Karikó and her team.

(See generally D.I. 45, including Exs. 9, 10 (Moderna’s co-founder, Derrick Rossi, stating that Dr.

Karikó’s work “is what allows these mRNA vaccines and any mRNA therapeutics down the

road”).)

       In April 2012, Moderna filed the application that eventually issued, nine years later in

January 2021, as U.S. Patent No. 10,898,574 (“the ’574 patent,” attached as Exhibit A), one of the

patents-in-suit. The 2012 filing discloses test data from a relatively small set of examples using

mRNA technology, including compositions containing the modifications to nucleosides that had

been identified by Dr. Karikó. However, the claims of the ’574 patent are far broader—purporting

to claim entire classes of mRNA compositions encoding any protein, and the use of such

compositions to express any protein. While the determination of infringement and validity of these

claims, including under the Supreme Court’s recent decision in Amgen v. Sanofi, No. 21-757, 2023

WL 3511533 (U.S. May 18, 2023), is an issue for another day, their breadth necessitates construing

two claim terms, “mRNA” and “unmodified mRNA.” As discussed below, BioNTech and Pfizer

propose constructions of these terms that are consistent with the meanings ascribed to them in and

as of the 2012 patent filing.



1
  The phrase “nucleoside” and other biotechnical terminology involved in this case are discussed
in the Declaration of Dr. Daniel O. Griffin (“Griffin Dec.”), submitted herewith as Exhibit D.


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       On October 21, 2016, Moderna filed the application leading to the remaining two asserted

patents. Following years of prosecution, U.S. Patent Nos. 10,702,600 (“the ’600 patent,” attached

as Exhibit B) and 10,933,127 (“the ’127 patent,” attached as Exhibit C) issued on July 7, 2020,

and March 20, 2021, respectively. In these patents, Moderna describes making mRNA to encode

specific portions of just three particular viruses. But the claims are once again much broader,

referring to any mRNA that encodes an “S protein” of a “betacoronavirus,” or a “subunit” of such

a protein. The breadth of these claims likewise raises claim construction issues concerning the

“betacoronavirus,” “S protein,” and “opening reading frame” claim terms, each of which are

discussed below.

       In the pre-Markman briefing exchanges, Moderna initially took the position that no claim

terms required construction.    In response to Defendants’ proposed constructions, however,

Moderna countered with constructions that, for example:

              improperly import limitations of one independent claim into another (Section III.A,

               infra, relating to the construction of mRNA);

              add (Section IV.C, infra, relating to the construction of “open reading frame”) or

               remove (Section III.B, infra, relating to the construction of “unmodified mRNA”)

               language that appears in express definitions provided by the patents;

              contravene the fundamental rule of claim construction that claim terms are accorded

               the meaning they had at the time of the alleged invention (Section IV.A, infra,

               relating to the construction of “betacoronavirus”); or

              simply spell out acronyms without explaining what the words actually mean

               (Section IV.B, infra, relating to the construction of “S protein”).




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       Because Defendants’ proposed constructions reflect the patents’ explicit definitions and/or

the understanding of a person of ordinary skill in the art (“POSA”) in view of the intrinsic record,

they should be adopted.

II.    BACKGROUND

       A.      The Patents-in-Suit

               1.      The ’574 Patent

       On April 2, 2012, Moderna filed an application that, through a series of “continuation”

applications, issued nine years later as the ’574 patent. The ’574 patent specification therefore

corresponds to the text that appeared in the application filed in 2012. That specification includes

no reference to the use of mRNA for making a vaccine, no mention of COVID-19 (which did not

exist until nearly eight years after the patent was filed), and no description of any pharmaceutical

composition for any actual drug product.

       The alleged invention of the ’574 patent is said to relate to “delivery methods” that are

“useful in therapeutic delivery of modified nucleic acids such as modified mRNA (mmRNA).”

(’574 patent at 1:32-34; see also id. at 4:65-67.) The mRNA, as the specification explains, is a

“biological moiety” that “modulate[s] protein expression” (id. at 2:12-14), which is a general

reference to the function of mRNA in the human body and countless other living organisms. The

specification also explains that the mRNA may be formulated as a “pharmaceutical composition”

that could be a “saline or lipid formulation.” (Id. at 2:28-30.)

       Despite having more than 100 columns of text, the actual work by Moderna described in

the ’574 patent is more limited. For example, the specification discloses test results from a

relatively small set of mRNA molecules in compositions that encode particular proteins, such as:

(1)“mCherry” (a fluorescent protein); (2) luciferase (another light-producing protein);

(3) erythropoietin (a natural hormone); (4) granulocyte colony-stimulating factor (another natural


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hormone); (5) vascular endothelial growth factor-isoform A (another natural hormone); and

(6) Factor IX (a protein in blood coagulation). (See id. at 62:16-68:11, 70:30-85:25.)

       The claims that ultimately issued in 2021 are not tethered to the mRNA that Moderna made,

used, and described in the patent specification. Rather, the claims use functional language that

covers a vast scope of materials. Claim 2, for example, recites:

               A pharmaceutical composition comprising: a plurality of lipid
               nanoparticles comprising a cationic lipid, a sterol, and a PEG-lipid,
               wherein the lipid nanoparticles comprise an mRNA encoding a
               polypeptide, wherein the mRNA comprises one or more uridines,
               one or more cytidines, one or more adenosines, and one or more
               guanosines and wherein substantially all uridines are modified
               uridines.

(574 patent at 105:1-22) Accordingly, Moderna claims mRNA that can encode any “polypeptide,”

and the claimed pharmaceutical compositions encompass exceedingly broad classes of lipid

materials. (Id.)

               2.      The ’600 and ’127 Patents2

       On October 21, 2016, Moderna filed an application that, once again through a series of

continuation applications, issued more than four years later as the ’600 and ’127 patents, on July

7, 2020, and March 2, 2021, respectively. In its 2016 application, Moderna stated the known

biological fact that “RNA (e.g., messenger RNA) can safely direct the body’s cellular machinery

to produce nearly any protein of interest,” which could range from “native proteins to antibodies

and other entirely novel protein constructs that can have therapeutic activity inside and outside of

cells.” (’600 patent at 3:24-27.)

       In this 2016 application, Moderna described using mRNA to produce certain “antigenic


2
  Because the specifications for the ’600 and ’127 Patents are essentially identical, the ’600 patent
specification is referenced for convenience.


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polypeptides” to target a “respiratory disease.” (Id. at 1:26-40, 4:1-5.) The application was based

on Moderna’s work relating to four specific mRNA compositions that encode parts of three

specific viruses: (1) a full length “fusion protein” from a “human papilloma” virus; (2) a

“hemagglutinin-neuraminidase” or fusion protein obtained from a “parainfluenza virus type 3”;

and (3) a full length “spike protein” or “S2 subunit” from a “MERS-CoV” virus. (See id. at 209:45-

210:62, 211:45-212:21, 213:60-214:56.) These particular mRNAs were encapsulated in two

different lipid formulations. (See id. at 212:47-54.) Unlike the ’574 patent, the specification for

the ’600 and ’127 patents does not require that these particular mRNA molecules include

nucleoside modifications; rather, the specification explains that the nucleic acids may be

“chemically modified” or “not chemically modified.” (Id. at 19:16-18.) As with the ’574 patent,

there is no description of mRNA encoding SARS-CoV-2, or parts of SARS-CoV-2, or

compositions constituting vaccines for SARS-CoV-2.

       Claim 1 of the ’600 patent is exemplary, and recites “[a] composition, comprising: a

messenger ribonucleic acid (mRNA) comprising an open reading frame encoding a

betacoronavirus (BetaCoV) S protein or S protein subunit formulated in a lipid nanoparticle.”

(’600 patent at 737:26-29.) Claim 1 of the ’127 patent recites:

               A method comprising administering to a subject a messenger
               ribonucleic acid (mRNA) comprising an open reading frame
               encoding a betacoronavirus (BetaCoV) S protein or S protein
               subunit formulated in a lipid nanoparticle in an effective amount to
               induce in the subject an immune response to the BetaCoV S protein
               or S protein subunit, wherein the lipid nanoparticle comprises 20-60
               mol % ionizable cationic lipid, 5-25 mol % neutral lipid, 25-55 mol
               % cholesterol, and 0.5-15 mol % PEG-modified lipid.

(’127 patent at claim 741:11-19.)




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        Importantly, in allowing these claims of Moderna’s patents referring to “betacoronavirus,”

the U.S. Patent and Trademark Office Examiner stated that the claims covered only

“betacoronaviruses that were known as of October 21, 2016 (e.g., OC43, HKU1, MERS and

SARS-CoV) and not SARS-CoV-2 (COVID-19)” because the application issuing as the patents

were filed “several years before the discovery of” SARS-CoV-2. (Ex. K, September 10, 2020

Notice of Allowance), p. 4.)3

        B.      Moderna’s Spikevax® and BioNTech-Pfizer’s Comirnaty® Vaccines

        On January 10, 2020, scientists associated with Fudan University in Shanghai and the

University of Sydney published the genome sequence of a “novel coronavirus,” now known as

“SARS-COV-2,” which is responsible for “COVID-19.” (See Edward C. Holmes & Yong-Zhen

Zhang, Novel 2019 coronavirus genome, https://virological.org/t/novel-2019-coronavirus-

genome/319 (Jan. 10, 2020).) This virus, as the name suggested, was new to the world, originating

in Wuhan, China in late 2019, and quickly spread throughout the world soon after. There was no

therapeutic available to combat the illness caused by this virus.

        BioNTech and Moderna, each of whom had already been working for years in the mRNA

field, independently created mRNA structures designed to encode a modified form of the SARS-

CoV-2 spike protein, and then further worked with those structures to create mRNA-based

vaccines. Although both vaccines encode for modified portions of SARS-CoV-2, the mRNA

sequences and compositions used in the BioNTech and Moderna vaccines are quite different. (See,

e.g., D.I. 45, Ex. 16.)




3
  Unless otherwise indicated, all emphases (bolding and italics) throughout this brief have been
added.


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III.    DISPUTED CLAIM TERMS IN THE ’574 PATENT

        In their infringement contentions, Plaintiffs have asserted claims 1-4 and 6-10 of the ’574

patent. The claim term “mRNA” appears in each asserted claim, while the term “unmodified

mRNA” appears only in claim 1.

        A.     “mRNA”

       Term         Plaintiffs’ Proposed Construction            Defendants’ Proposed
                                                                     Construction
       mRNA        Plain and ordinary meaning, which is: “messenger ribonucleic acid, i.e., a
                                                         ribonucleic acid (RNA) that acts as a
                    “messenger RNA, i.e., a ribonucleic       template for protein synthesis
                      acid (RNA) polynucleotide that       through the process of translation”
                   encodes a polypeptide of interest and
                      can be translated to produce the
                     encoded polypeptide of interest.”


        Defendants’ proposed construction of “mRNA” that is based on the patent specification

and the POSA’s understanding of that term. Plaintiffs’ responsive construction, however, attempts

to limit “mRNA” to a ribonucleic acid that encodes “a polypeptide of interest,” rather than proteins

(including polypeptides) more generally.4 As explained below, limiting “mRNA” in this manner

contradicts the intrinsic record and how a POSA would have understood that term.

        First, the claim language demonstrates that “mRNA” is a material that encodes proteins,

including polypeptides—not just polypeptides that are “of interest” to some unspecified person.

The contrast of the two independent claims—claims 1 and 2—illustrates why this is so. Whereas

claim 1 is limited to an mRNA encoding a “polypeptide of interest,” independent claim 2 recites

“an mRNA encoding a polypeptide”—without using the term “of interest.” The fact that claim 1



4
  The ’574 patent does not appear to distinguish between “polypeptide,” “protein,” and “peptide.”
(’574 patent, at 52:28-31 (“Polypeptide: As used herein, “polypeptide” means a polymer of amino
acid residues linked together by peptide bonds. The term [polypeptide], as used herein, refers to
proteins, polypeptides, and peptides of any size, structure, or function.”).)


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has the additional limitations “of interest”—whereas independent claim 2 does not—confirms that

the term “mRNA” itself is not so limited. See Atl. Rsch. Mktg. Sys., Inc. v. Troy, 616 F. Supp. 2d

157, 162 (D. Mass. 2009) (“[W]hen a patent claim ‘does not contain a certain limitation and

another claim does, that limitation cannot be read into the former claim.’”) (quoting Amgen Inc. v.

Hoechst Marion Roussel, Inc., 314 F.3d 1313, 1326 (Fed. Cir. 2003)).

       Second, the specification confirms Defendants’—and undercuts Plaintiffs’—construction.

Like the claims, the specification uses “mRNA” to describe a template for protein synthesis,

without limiting the resulting product to a “polypeptide of interest.” (See, e.g., ’574 patent at

5:10-18 (“This invention provides nucleic acids, including RNAs, specifically mRNAs, that

encode at least one polypeptide . . . .”).) The ’574 patent also describes mRNA that encodes

different types of proteins, including “polypeptide variants,” “targeting moieties,” “cell penetrating

peptides,” “fusion proteins,” and reporter proteins. (Id. at 6:30-59; 86:58-63; see also id. 3:65-

4:29; Ex. D, Griffin Dec. at ¶¶ 24, 27, 34, 36.) The “varied use” of “mRNA” throughout the

specification “demonstrates the breadth of the term.” Johnson Worldwide Assocs., Inc. v. Zebco

Corp., 175 F.3d 985, 991 (Fed. Cir. 1999). Moreover, where the specification describes mRNA

that encodes a “polypeptide of interest,” the specification uses this term expressly (see, e.g., ’574

patent at 2:20-23, 5:41-44; 27:62-28:2), which further confirms that “mRNA,” as used generally,

should not be defined as mRNA encoding a “polypeptide of interest.”

       Third, Defendants’ proposed construction reflects how a POSA would have understood

“mRNA” as of the ’574 patent’s priority date, as demonstrated by contemporaneous definitions of

“mRNA.” The Federal Circuit has “made clear that dictionaries and treatises can often be useful

in claim construction, particularly insofar as they help the court ‘to better understand the

underlying technology’ and the way in which one of skill in the art might use the claim terms.”




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Starhome GmbH v. AT & T Mobility LLC, 743 F.3d 849, 856-58 (Fed. Cir. 2014). Such sources

confirm that a POSA would have understood that mRNA encodes for any protein, not merely a

“polypeptide of interest.” (See Ex. H, COLLINS DICTIONARY OF SCIENCE (2005) (mRNA “acts as

the template for protein synthesis”); accord Ex I, PENGUIN DICTIONARY OF SCIENCE, 3rd Eds.

(2009) (“single-stranded RNA which serves as the template for protein synthesis”); Ex. J,

WEBSTER’S NEW WORLD MEDICAL DICTIONARY, 3rd Eds (2008) (“[T]he key intermediary in gene

expression, which translates the DNA’s genetic code into the amino acids that make up proteins.”);

Ex. D, Griffin Dec. at ¶¶ 26-27, 34-36.) In addition, the POSA would have understood that

naturally occurring mRNA encodes proteins in nearly all organisms, regardless of whether it is “of

interest” to anyone.

       Furthermore, Plaintiffs’ proposed construction creates ambiguity as to which of the

proteins described in the specification would qualify as a “polypeptide of interest.” (Id. at ¶¶ 34,

36.) For example, the specification describes how mRNA can encode for reporter proteins called

“mCherry” and “luciferase,” see, e.g. id. 3:65-4:29, which are fluorescent and light-producing

proteins used to measure gene expression. (Ex. D, Griffin Dec. at ¶¶ 29, 36.) It is unclear whether

such proteins (which generally have no therapeutic use) would qualify as a “polypeptide of

interest.” In this way, Plaintiffs’ proposed construction effectively excludes mRNA embodiments

described in the specification, contradicting the “strong presumption against a claim construction

that excludes a disclosed embodiment.” In re Katz Interactive Call Processing Pat. Litig., 639

F.3d 1303, 1324 (Fed. Cir. 2011).

       The Court should reject Plaintiffs’ proposed construction of “mRNA” in favor of

Defendants’ construction, which (1) reflects how “mRNA” is used in the ’574 patent claims, (2) is




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supported by the specification, and (3) is consistent with how the term would have been understood

by the POSA.

       B.        “Unmodified mRNA”

      Term               Plaintiffs’ Construction               Defendants’ Construction
    unmodified      Plain and ordinary meaning, which      “any mRNA molecule prior to being
      mRNA         is: “mRNA prior to being changed.”          changed in any way; mRNA
                                                            molecules may undergo a series of
                                                           modifications whereby each modified
                                                            mRNA molecule may serve as the
                                                           unmodified starting mRNA molecule
                                                              for a subsequent modification”

       Defendants’ proposed construction of “unmodified mRNA” is based on “lexicography,”

i.e., the express definition of the word “unmodified” contained in the ’574 patent specification, as

applied to the word “mRNA.” See Braintree Labs., Inc. v. Novel Labs., Inc., 749 F.3d 1349, 1356

(Fed. Cir. 2014) (explaining that “lexicography” in a patent “must govern the claim construction

analysis”). Where “the specification explains and defines a term used in the claims, without

ambiguity or incompleteness, there is no need to search further for the meaning of the term.”

Sinorgchem Co., Shandong v. ITC, 511 F.3d 1132, 1138 (Fed. Cir. 2007); see also Teva Pharma.

Int’l GmbH v. Eli Lilly & Co., 2021 WL 723337, at *5 (D. Mass. Feb. 24, 2021) (adopting

Defendants’ construction because “the specification sets out an express definition and

[Defendants’] proposed construction mirrors that definition”); Martek Biosciences Corp. v.

Nutrinova, Inc., 579 F.3d 1363, 1380 (Fed. Cir. 2009) (express definition in the specification is

controlling). That is precisely the case here.

       Under the heading “Definitions,” the ’574 patent contains the following statement, using

the word “unmodified” in quotation marks to signify definitional status:5


5
  The use of quotation marks is a “strong indication that what follows is a definition.”
Sinorgchem, 511 F.3d at 1136.


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               Unmodified: As used herein, “unmodified” refers to any substance,
               compound or molecule prior to being changed in any way . . . .
               Molecules may undergo a series of modifications whereby each
               modified molecule may serve as the “unmodified” starting
               molecule for a subsequent modification.

(’574 patent at 54:64-55:3.) Defendants’ construction applies this precise definitional language,

with the word “mRNA” substituted for “molecule” because the “molecule” in the claim is

“mRNA.” As such, it tracks the lexicography of the patent, and therefore must be adopted.

       By contrast, Plaintiffs’ proposed construction “mRNA prior to being changed” is

inconsistent with the intrinsic record. First, where, as here, the patentee provides such an express

definition, the “plain and ordinary meaning” must yield to the lexicography supplied by the patent.

See Phillips, 415 F.3d at 1316; AstraZeneca AB v. Mylan Pharma. Inc., 19 F.4th 1325, 1330 (Fed.

Cir. 2021). Second, Plaintiffs’ proposed construction omits key definitional elements provided in

the specification. For example, in addressing the situation where an mRNA molecule undergoes

a series of modifications, the ’574 patent “clearly, deliberately, and precisely defined” unmodified

mRNA to include each modified mRNA molecule that serves as the “unmodified” starting mRNA

molecule for a subsequent modification. See Sinorgchem, 511 F.3d at 1136. Because Plaintiffs’

proposed construction improperly excludes embodiments that are included in the breadth of the

term, as confirmed by the specification, it should be rejected. See, e.g., id. at 1137-40.

IV.    DISPUTED CLAIM TERMS IN THE ’600 AND ’127 PATENTS

       In their infringement contentions, Plaintiffs have asserted claims 1-2, 4-6, 8-12, 16-17, 20-

21 and 26 of the ’600 patent and claims 1-3, 6-9, 11-13, 17-18, and 20 of the ’127 patent. The

claim terms discussed below are applicable to each of the asserted claims.




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       A.      “Betacoronavirus”

      Term                Plaintiffs’ Construction                Defendants’ Construction

 betacoronavirus     plain and ordinary meaning, which         as of October 21, 2016, any of the
                      is: an enveloped, positive-sense,         enveloped, positive-sense, single
                        single stranded RNA virus of           stranded RNA viruses of zoonotic
                     zoonotic origin that belongs to one        origin that belonged to one of the
                          of the four lineages of the         four lineages of the betacoronavirus
                         betacoronavirus genus of the                genera of the subfamily
                       subfamily Coronavirinae (e.g.,          Coronavirinae (e.g., OC43, HKU1,
                       OC43, HKU1, MERSCoV, and                   MERSCoV, and SARS-CoV)
                                 SARS-CoV)

       The parties’ dispute centers on whether the scope of “betacoronavirus” should be assessed

as of October 21, 2016, the patents’ filing date. It is well-established that “[a] court construing a

patent claim seeks to accord a claim the meaning it would have to a person of ordinary skill in the

art at the time of the invention.” Phillips, 415 F.3d at 1313 (internal quotations omitted). Because

Defendants’ proposed construction is consistent with this fundamental rule of claim construction,

as well as the intrinsic record, Defendants respectfully request that it be adopted.

               1.      Defendants’ Proposed Construction
                       Is Consistent with Federal Circuit Precedent

       In Schering Corp. v. Amgen Inc., the Federal Circuit applied this rule to reject a

construction that would have “enlarge[d] the scope of the patent to embrace technology arising

after its filing.” 222 F.3d 1347, 1353 (Fed. Cir. 2000). In that case, the parties disputed the

meaning of the claim term “polypeptide of the INF-α type.” When originally filed, the patent

application used the term “leukocyte interferon,” which described the inventive polypeptides by

their source. Id. at 1352. During patent prosecution, this term was replaced with “INF-α” in the

claims due to the subsequent discovery of additional types of polypeptides produced by leukocytes.

Id. Because the accused product used a DNA sequence encoding multiple INF-α subtypes,

including subtypes discovered after the patent’s filing, the parties disputed whether the claim term


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“INF-α” should be construed to “encompass[] all INF-α subtypes” or be limited to “INF-α-1,” “the

only interferon subtype that Dr. Weissmann’s patents describe and embrace.” Id. at 1351-52, 1354.

       The Federal Circuit held that the term was limited to “INF-α-1,” explaining that the new

claim language “did not and could not enlarge the scope of the patent to embrace technology

arising after its filing” because “court[s] must determine what the term meant at the time the

patentee filed the ’901 application.” Id. at 1353. In accordance with this legal principle, the court

determined that, “[b]ecause, at the time of the ’901 application, neither Dr. Weissmann nor others

skilled in the art knew of the existence of, let alone the identity of, the specific polypeptides now

identified as subtypes of IFN-α, those subtypes cannot be within the scope of the claims.” Id. at

1353-54 (explaining that claim terms must be interpreted “to cover no more than what the

specification supported at the time of filing” to avoid “reward[ing] Dr. Weissmann for inventions

he did not make”).

       Plaintiffs’ proposed “betacoronavirus” construction suffers from the same infirmity as the

patentee’s construction in Schering. Specifically, by omitting the “as of October 21, 2016”

temporal reference for defining the scope of “betacoronavirus,” Plaintiffs’ construction improperly

attempts to capture viruses, such as SARS-CoV-2 (COVID-19), that did not even exist as of that

date. See, e.g., Kopykake Enter., Inc. v. Lucks Co., 264 F.3d 1377, 1383 (Fed. Cir. 2001) (“As we

explained in Schering . . . when a claim term understood to have a narrow meaning when the

application is filed later acquires a broader definition, the literal scope of the term is limited to

what it was understood to mean at the time of filing.”).




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                 2.     The Intrinsic Record Is Consistent with the
                        Temporal Restriction in Defendants’ Proposed Construction

       The intrinsic record confirms that Plaintiffs’ construction is improper. For example, the

patent specification, as filed on October 21, 2016, described the term “betacoronavirus” in the

present tense:

                 [Betacoronaviruses] are enveloped, positive-sense, single-stranded
                 RNA viruses of zoonotic origin. The coronavirus genera are each
                 composed of varying viral lineages, with the betacoronavirus genus
                 containing four such lineages. The BetaCoVs of the greatest clinical
                 importance concerning humans are OC43 and HKU1 of the A
                 lineage, SARS-CoV of the B lineage, and MERS-CoV of the C
                 lineage.

(‘600 Patent at 2:50-57.) Consistent with Schering, a POSA would have understood the present-

tense framing of this definition as of Moderna’s October 21, 2016 patent filing to refer only to the

then-existing betacoronaviruses, i.e., those known as of October 21, 2016.

       Likewise, the prosecution history removes any potential doubt as to the proper construction

of “betacoronavirus.” In the notice by the patent Examiner giving reasons for allowing the ’127

patent to issue, the Examiner expressly stated that the claims were “interpreted as [being] directed

to betacoronaviruses that were known as of October 21, 2016 (e.g., OC43, HKU1, MERS and

SARS-CoV)”:

                 The instant application was effectively filed on October 21, 2016,
                 several years before to the discovery of SARS-CoV-2 (COVID-19).
                 Prior to January 2020, neither the prior art nor the instant
                 specification described/disclosed SARS-CoV-2 (COVID-19).
                 Accordingly, the current method claims and claims directed to
                 compositions comprising mRNA encoding a betacoronavirus S
                 protein or S protein subunit formulated in a lipid nanoparticle are
                 interpreted as begin directed to betacoronaviruses that were
                 known as of October 21, 2016 (e.g., OC43, HKU1, MERS and
                 SARS-CoV) and not SARS-CoV-2 (COVID-19).

(Ex. K, September 10, 2020 Notice of Allowance.) Such “[s]tatements about a claim term made

by an examiner during prosecution of an application may be evidence of how one of skill in the


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art understood the term at the time the application was filed.” Cytyc Corp. v. TriPath Imaging,

Inc., 2005 U.S. Dist. LEXIS 29850, at *30 (D. Mass. Nov. 28, 2005) (quoting Salazar v. Procter

& Gamble Co., 414 F.3d 1342, 1347 (Fed. Cir. 2005)).

        In response to the Examiner’s comment, the applicants stated merely that the “patent claims

properly encompass embodiments that were not known at the time that the application was filed.”

(Ex. L, Response to Examiner’s Note at 1-2 (citing Innogenetics, N.V. v. Abbott Labs., 512 F.3d

1363, 1370 (Fed. Cir. 2008)).) Innogenetics, however, does not contradict the Examiner’s accurate

interpretation of the patent. Innogenetics merely rejected an argument that broad claim language

should be limited to the specific “embodiments” of the patent, rather than the broader meaning

justified by the patent as a whole. See id. at 1370-72. That situation is not present here: the

Examiner’s statements did not seek to limit the claim only to the specific embodiments in the

patent (i.e., the mRNAs that made the disclosed and tested proteins). Moreover, Innogenetics did

not, and could not, overrule Schering because it did not address the situation where—as here6—

the intrinsic record confirms that a patent’s claims are limited to a genus of compositions known

as of the time of patent filing.




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  The claims specify that the “mRNA” encodes a portion of the “betacoronavirus,” namely an “S
protein” or “subunit” of that protein. (Ex. D, Griffin Dec. at ¶¶ 38, 40, 42-43.) The specification
provides no other guidance for the actual design of such an “mRNA.” Thus, if
“betacoronavirus” is not limited to only those that existed as of October 21, 2016, the uncertainty
concerning the design of the claimed “mRNA” would only be exacerbated. (Id. at ¶¶ 28, 46, 51.)
The situation is therefore unlike Innogenetics, and Defendants’ proposed construction is
necessary to circumscribe the scope of the claimed class of structures or compositions
themselves. See, e.g., Aventis Pharma. Inc. v. Amino Chems. Ltd., 715 F.3d 1363, 1373 (Fed.
Cir. 2013) (“Claims, however, must be construed in light of the appropriate context in which the
claim term is used.”).


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         B.       S Protein

           Claim Term                 Plaintiffs’ Proposed              Defendants’ Proposed
                                          Construction                       Construction
              S protein           Plain and ordinary meaning,       “A structural protein encoded
                                   which is: “spike protein”        by a betacoronavirus genome
                                                                    that mediates virus binding to
                                                                       cells and virus entry via
                                                                     fusion of the virus and target
                                                                           cell membranes”

         Defendants’ proposed construction of “S protein,” which clarifies the meaning and scope

of the claim term for the jury, is firmly rooted in the language of the specification and consistent

with how a POSA would have understood the term. In contrast, Plaintiffs’ construction—which

merely fills in the abbreviation of “S” with the word “spike”—provides no context or meaning to

the jury, as required by the Federal Circuit and Supreme Court. See Markman v. Westview

Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (claim construction ascertains “the meaning

and scope of the patent claims asserted to be infringed”), aff’d, 517 U.S. 370 (1996). The Court

should adopt Defendants’ construction.

         First, Defendants’ proposed construction of “S protein” is anchored in the specification,

which distinguishes the S protein from other proteins. For example, the first part of Defendants’

proposed construction, “a structural protein encoded by a betacoronavirus genome,” is based on

the specification’s description of an S protein as one of four major betacoronavirus structural

proteins. (See ’600 Patent at 34:36-41 (“The genome of MERS-CoV7 encodes at least . . . four

major structural proteins, including spike (S) [protein].”); see also id. at 7:23-32, 8:4-11, 35:50-

59.)    The other three structural proteins include the “envelope (E), nucleocapsid (N), and

membrane (M) proteins.” (Id. at 34:39-40.) The specification describes these as part of a specific




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    MERS-CoV is a type of betacoronavirus.


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betacoronavirus known as of October 21, 2016 (e.g., MERS-CoV). (Id. at 7:23-28.) Given these

disclosures, “S protein” is properly construed in part as “a structural protein encoded by a

betacoronavirus genome.”

       The latter part of Defendants’ proposed construction, “mediates virus binding to cells and

virus entry via fusion of the virus and target cell membranes,” is likewise rooted in the

specification’s disclosure. According to the specification, “[t]he S protein is particularly essential

in mediating virus binding to cells expressing receptor dipeptidyl peptidase-4 (DPP4) through

receptor-binding domain (RBD) in the S1 subunit, whereas the S2 subunit subsequently mediates

virus entry via fusion of the virus and target cell membranes.”             (Id. at 34:53-58.)   The

specification’s description of the S protein’s function served an important purpose: it distinguished

S protein from the other structural proteins on the betacoronavirus, such as the envelope protein

(E), nucleocapsid protein (N), and membrane protein (M). (Id. at 34:48-58.) Defendants’

construction thus “stays true to the claim language and most naturally aligns with the patent’s

description of the invention.” Phillips, 415 F.3d at 1316.

       Second, Defendants’ construction is consistent with how a POSA would have understood

the term “S protein.” As Dr. Griffin explains, consistent with the specification, a POSA would

have understood as of October 21, 2016 that S proteins of such betacoronaviruses consisted of two

subunits: the S1 subunit, which contained the receptor-binding domain that bound to receptors on

the cell surface, and the S2 subunit, which fused to the envelope of the virus with the host cell

membrane. (Ex. D, Griffin Dec. at ¶ 55, 57.) As Dr. Griffin further explains, the POSA would

have appreciated that the S protein plays a crucial role in mediating the process by which

betacoronaviruses bound itself to and entered cells. (Id. at ¶¶ 56-57.) The POSA would thus view

Plaintiffs’ construction, which merely replaces S with “spike,” as incomplete because a POSA




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would understand that the S protein was defined not just by its appearance, but also by its function.

(Id. at ¶ 58.)

        Third, Defendants’ proposed construction of “S protein,” which is based on the

specification disclosure, clarifies the meaning and scope of the patent claims asserted to be

infringed—as is required where the term does not have a “meaning[] which would be apparent to

the laypeople who will act as finders of fact in this dispute.” MedIdea, L.L.C. v. DePuy

Orthopaedics, Inc., 2018 WL 5830849, at *5 (D. Mass. Nov. 7, 2018), aff’d, 833 F. App’x 338

(Fed. Cir. 2021). Namely, Defendants’ construction provides that the “S protein” was (1) encoded

by a betacoronavirus and (2) mediates virus binding and entry into cells.

        As courts in this district have found, “[c]laims must be translated into plain English so that

a jury will understand. Thus, accurate words that convey the essence of the invention are needed.”

Control Res., Inc. v. Delta Elecs., Inc., 133 F. Supp. 2d 121, 127 (D. Mass. 2001); see also

Milliman, Inc. v. Gradient A.I. Corp., 2023 WL 319633, at *2-3 (D. Mass. Jan. 19, 2023)

(construing the term “token” to ensure that it will be understandable to the lay jury). Plaintiffs’

proposed replacement of the letter “S” with the word “spike” does nothing to help a lay juror

determine whether a given protein falls within the scope of the claims. On the contrary, it generates

confusion; the juror would bear the legal responsibility to search the patent specification to

determine what the figurative word “spike” appended to “protein” refers to in the claims, and what

role it played in the virus’s function. See, e.g., Sulzer Textil A.G. v. Picanol N.V., 358 F.3d 1356,

1366 (Fed. Cir. 2004) (“[T]he district court must instruct the jury on the meanings to be attributed

to all disputed terms used in the claims in suit so that the jury will be able to ‘intelligently determine

the questions presented.’” (citation omitted)). Plaintiffs’ construction raises more questions than

answers.




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         Accordingly, the Court should adopt Defendants’ proposed construction.

         C.      Open Reading Frame

          Claim Term                   Plaintiffs’ Proposed             Defendants’ Proposed
                                          Construction                       Construction
      “open reading frame”         Plain and ordinary meaning,      “a continuous stretch of DNA
                                             which is:               beginning with a start codon
     (’600 Patent: Claims 1-2,                                      (e.g., methionine (ATG)), and
      10, 16-17, 20, 26; ’127         “In a DNA, a continuous          ending with a stop codon
    Patent: Claims 1-2, 13, 17-   stretch of DNA beginning with       (e.g., TAA, TAG or TGA)
              18, 20)              a start codon, and ending with    and encodes a polypeptide”
                                     a stop codon and encodes a
                                  polypeptide, or, in an mRNA, a
                                       corresponding stretch of
                                               mRNA”

         Once again, Defendants’ position rests on the bedrock principle of “lexicography,” relying

on the definition set forth in the specification, which ends the need to “search further for the

meaning of the term.” Sinorgchem, 511 F.3d at 1138. The specification of the ’600 and ’127

patents explicitly defines the term “open reading frame” as follows:

                 An “open reading frame” is a continuous stretch of DNA beginning
                 with a start codon (e.g., methionine (ATG)), and ending with a stop
                 codon (e.g., TAA, TAG or TGA) and encodes a polypeptide.

(’600 patent at 62:50-53.) This express definition8—precisely the construction that Defendants

propose here—is binding; it is the beginning and the end of the claim construction inquiry. See,

e.g., Braintree Labs., 749 F.3d at 1356.

         Plaintiffs, on the other hand, seek to alter the express definition in the specification by

reading in language that expands that definition to refer to open reading frames made of RNA, not




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  The patent sets off the defined term in quotation marks, a “strong indication that what follows is
a definition.” Sinorgchem, 511 F.3d at 1136. And the patent uses a similar format to define other
claim terms nearby; “open reading frame” is just one of four terms defined right next to each other
in a list. This repeated definitional structure confirms Plaintiffs’ clear intent to define the term
“open reading frame.”


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DNA as the specification recites. (See D.I. 70, p. 3 (Plaintiffs Construction: “In a DNA, a

continuous stretch of DNA beginning with a start codon, and ending with a stop codon and encodes

a polypeptide, or, in an mRNA, a corresponding stretch of mRNA”).) This is wholly improper.

        First, Plaintiffs’ attempt to ignore the patent’s lexicography is contrary to law that the

“patentee must be bound by the express definition.” Sinorgchem, 511 F.3d at 1136; Cultor Corp.

v. A.E. Staley Mfg. Co., 224 F.3d 1328, 1331 (Fed. Cir. 2000) (while multiple alternative

embodiments might have otherwise fallen within the ordinary meaning of the claim term “water-

soluble polydextrose,” the patent’s lexicography limited the claim scope to only “that prepared

with a citric acid catalyst”).

        Second, Plaintiffs cannot escape their own definition by contending that the reference to

DNA is inconsistent with focusing on mRNA. Defining “open reading frame,” as the patent does,

in terms of a stretch of DNA that encodes a protein fits hand-in-glove with the rest of the

specification. For example, the ’600 patent explains that DNA is a “polynucleotide[]” that encodes

proteins. (See, e.g., ’600 patent at 41:42-43 (“the terms ‘nucleic acid’ and ‘polynucleotide’ are

used interchangeably”); Id. at 41:44-53 (“[n]ucleic acids may be or may include ribonucleic acids

(RNAs), deoxyribonucleic acids (DNAs), . . . or chimeras or combinations thereof.”).) Moreover,

the specification contemplates mRNA containing an open reading frame with “a continuous stretch

of DNA” because the “open reading frame” of mRNA can include DNA. (Id. at 41:44-53.) Thus,

claims to mRNA comprising an “open reading frame,” where the open reading frame includes a

stretch of DNA per the definition of open reading frame, is consistent with the specification’s

definition of that term.

        But even if Plaintiffs were to contend that there was conflict between the definition of open

reading frame as including a stretch of DNA, and its use in the claim as a component of the claimed




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mRNA, Plaintiffs still would not be entitled to their proposed construction. Any alleged conflict

“cannot override the express definitional language,” Sinorgchem, 511 F.3d at 1138, and they

certainly do not entitle the Plaintiffs to supplant the express definition of “open reading frame” in

its specification, Trs. of Columbia Univ. v. Symantec Corp., 811 F.3d 1359, 1366 (Fed. Cir. 2016).

If Plaintiffs say the claims do not make sense under the patent’s express definition, that is a matter

to take up as part of the validity inquiry, not something to be “fixed” at claim construction. See

Chef Am. v. Lamb-Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004) (“This court, however,

repeatedly and consistently has recognized that courts may not redraft claims, whether to make

them operable or to sustain their validity.”).

V.     CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court adopt their

proposed claim constructions, which reflect the meanings that a POSA would have ascribed to

the disputed claim terms at the time of the invention based on the intrinsic record.



                                          *       *       *




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Dated: May 26, 2023


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                                CERTIFICATE OF SERVICE

        I, Lee Carl Bromberg, hereby certify that this document filed through the ECF system on
May 26, 2023 will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF).

                                                            /s/ Lee Carl Bromberg
                                                                Lee Carl Bromberg
